           Case 2:08-cr-00518-KJM Document 53 Filed 09/03/09 Page 1 of 2


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 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-08-518 LKK
12              Plaintiff,            )
                                      )   ORDER CONTINUING STATUS
13        v.                          )   CONFERENCE AND CHANGE OF PLEA
                                      )   HEARING
14   RODNEY CHARLES RENSHAW           )
                                      )
15              Defendants.           )
                                      )
16
17        This matter came before the Court for a status conference as
18   to Rodney Charles Renshaw on August 25, 2009.        Assistant U.S.
19   Attorney Michael Beckwith represented the United States and
20   Christopher Cosa appeared on behalf of Rodney Charles Renshaw who
21   was in custody and not present.
22        Based upon the party’s representations, the Court set a
23   further status conference and change of plea hearing for
24   September 29, 2009, at 9:15 a.m.         The Court ordered that time be
25   excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4
26   (reasonable time to prepare) as to defendant Rodney Charles
27   Renshaw.   The Court directed government counsel to prepare a
28   formal order.

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           Case 2:08-cr-00518-KJM Document 53 Filed 09/03/09 Page 2 of 2


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 2        IT IS HEREBY ORDERED:
 3        1.   A status conference and change of plea hearing is set
 4   for September 29, 2009, at 9:15 a.m., for defendant Rodney
 5   Charles Renshaw.
 6        2.   Based on the party’s representations, the Court finds
 7   that the ends of justice outweigh the best interest of the public
 8   and defendants in a speedy trial.      Accordingly, time under the
 9   Speedy Trial Act shall be excluded through September 28, 2009.
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11        IT IS SO ORDERED
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14   Date: September 2, 2009
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